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                    EXHIBIT D
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Via Email                                                                   July 2, 2024

Mr. Kevin S. Schwartz, Esq.
Wachtell, Lipton, Rosen & Katz
51 West 52nd Street
New York, NY 10019

        Re: SEC v. Coinbase, Inc., et al., Case No. 1:23-cv-04738-KPF

Dear Kevin:

         I write in response to your letter dated June 25, 2024 (“Letter”), summarizing your
understanding of the SEC’s positions concerning its Responses and Objections (“Responses
and Objections”) to Coinbase’s First Request for the Production of Documents (“RFPs”),
which the SEC served on May 23, 2024, and the meet and confers relating thereto held on
June 13, 17, and 20, 2024. Below the SEC addresses each of the “General Issues” and
“Specific RFPs” set forth in your Letter, to clarify the SEC’s positions where necessary and
to convey our understanding of Coinbase’s positions, including regarding the claimed
relevance of the documents the RFPs seek. But first, the SEC sets forth a summary of its
efforts to respond to the RFPs (and to the concerns raised by you and your colleagues
during the meet and confer process) and proposes an additional search in a good-faith effort
to resolve the parties’ disputes with respect to 12 of the 16 RFPs discussed in your Letter.

                         THE SEC’S EFFORTS AND PROPOSAL

        Between May 24 and May 29, 2024, the SEC produced the entire non-privileged
portion of its investigative files for the investigations captioned In the Matter of Coinbase,
Inc. conducted under File Nos. HO-14315 and SF-04523 (the “Investigative File”). That
production consisted of approximately 241,320 documents, and a volume of over 136 GB.
The Investigative File consisted of all documents gathered in connection with the SEC’s
investigation of Coinbase in this matter, including all documents relied upon by the SEC in
bringing this Action and/or forming the basis for the SEC’s allegations set forth in the
SEC’s complaint in this case (“Complaint”). Given the SEC’s comprehensive production of
documents relevant to its claims in this matter, and as set forth in its Responses and
Objections, the SEC objected to Coinbase’s RFPs to the extent they sought documents
outside of the Investigative File.1 During the meet and confer process, the SEC further

1        Specifically, in its Responses and Objections, the SEC objected to Coinbase’s definition of
the “SEC” or “Commission” to the extent it purported to include within the scope of any RFP SEC
divisions and persons who did not conduct the Investigation or the instant civil enforcement action.
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Coinbase is unwilling to accept the SEC’s proposal, then the SEC agrees the parties will be at
an impasse on this issue.

Documents Relevant to Coinbase’s Defenses

        During the June 13 meet and confer call, and as summarized in an email I sent
following that call (see Attachment B), Coinbase asked if it was the SEC’s position that it
would not produce documents concerning Coinbase’s fair notice and other affirmative
defenses on the grounds that such defenses are meritless and thus documents (if any) related
thereto are not the proper subject of discovery. In response to this question, the parties
discussed, among other things, Judge Failla’s opinion and order on Coinbase’s motion for
judgment on the pleadings (“MJOP”) (and the remaining viability, if any, of certain defenses)
and the SEC’s relevance objections to producing internal SEC communications and
documents and SEC communications with other government agencies. To be clear, the
SEC does believe that the Court has already rejected Coinbase’s fair notice, APA (or “abuse
of discretion”) and “Major Questions Doctrine” (“MQD”) defenses, meaning that discovery
into those failed defenses is improper.2 In any event, Coinbase has also failed even to
demonstrate that the discovery it seeks (namely, internal SEC documents and non-public
communications with other agencies, all of which are likely privileged) is relevant to its fair
notice and other defenses, even were the defenses viable (which they are not).

        Coinbase’s Fair Notice Defense

        It is apparent from the meet and confer process that the parties have a pronounced
disagreement as to whether internal SEC documents and non-public inter-agency
communications (aside from their likely privileged status) are relevant to Coinbase’s fair
notice defense. As you and your colleagues stated repeatedly during the meet and confer
process, Coinbase believes internal SEC documents and inter-agency communications are
relevant to its fair notice defense because such documents “inform” the fair notice “inquiry.”
You further stated Coinbase’s view that the fair notice inquiry is “not limited to public
statements alone” and that internal SEC documents and its communications with other
government agencies are relevant to what market participants “could glean” from the SEC’s
public statements and/or its inaction or silence. Coinbase cited no caselaw or other
authority to support its position. The SEC accordingly disagreed with Coinbase’s position
and stated that courts in crypto enforcement actions have consistently found internal SEC
documents to be entirely irrelevant to the fair notice inquiry and have focused instead on the
relevant statute and case law (Howey and its progeny), and on the SEC’s public statements
and official actions, including other enforcement actions filed and published guidance. As
set forth in the SEC’s pre-motion conference request to quash Coinbase’s improper Fed. R.
Civ. P. 45 subpoena to the SEC’s Chair, examples of these cases include Kik Interactive,
LBRY, and Terraform Labs. D.E. 133 at 2-3.




2        As explained in our pre-motion conference request to quash Coinbase’s improper Fed. R.
Civ. P. 45 subpoena to the SEC’s Chair, Coinbase’s equitable defenses (equitable estoppel, unclean
hands, and laches) are also meritless. D.E. 133 at 2-3.
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        Coinbase’s Other Defenses

        As set forth in my June 13 email, the SEC asked Coinbase—by reply email or on the
next scheduled meet and confer call—to identify which of its RFPs seek documents relevant
to Coinbase’s affirmative defenses (and which defenses relate to which RFP) and explain
how the documents sought by each such RFP are relevant to the specified defenses. See
Attachment B. Coinbase did not provide the requested information in writing. Accordingly,
the SEC disagrees with your Letter’s apparent assertion that Coinbase provided all of this
information—you only identified certain RFPs (e.g., RFP Nos. 13, 15, and 28) relating to
your fair notice defense. You did identify four RFPs—from among those your Letter
indicated Coinbase is now “willing to reserve its position” on (RFP Nos 7, 9-12, 19, 23-24,
29, and 30)—as calling for documents relating to three defenses other than fair notice.3
Please confirm Coinbase will no longer seek documents responsive to these RFPs. If
Coinbase is unwilling to so confirm, please provide the remainder of the information
requested in my June 13 email with respect to those 10 RFPs and any other RFPs to which
Coinbase believes its equitable estoppel, unclean hands, laches, and other defenses (other
than fair notice) apply.

                           SPECIFIC REQUESTS FOR PRODUCTION

Investigative Files

The Coinbase Investigative File (RFP No. 1)

         With respect to RFP No. 1, we have agreed to produce, and have already produced,
to Coinbase the entire non-privileged part of the Investigative File, including information the
SEC relied on in preparing the Complaint and other non-privileged documents obtained in
the course of the SEC’s investigation. As stated in your Letter, Coinbase’s position is that
“any file for any investigation that formed the basis for the complaint should be produced,
not just the Coinbase investigative file.” We explained during the meet and confer process
that the Coinbase Investigative File includes all documents forming the basis for the
complaint and thus, the SEC has already produced all documents responsive to RFP No. 1.
Lastly, the SEC agreed that it would log all privileged communications and documents
contained in the Investigative File. Given the foregoing, the parties are not, or at least
should no longer be, at any impasse with respect to RFP No. 1.

SEC’s Other Investigative Files (RFP No. 26)

       Notwithstanding and without waiving the SEC’s relevance, proportionality, undue
burden, and other objections to RFP No. 26, and as described above, the SEC is already
undertaking efforts to conduct a reasonable search of three of the 11 Enforcement Division

3        Specifically, Coinbase identified RFP No. 9 as seeking documents relevant to its equitable
estoppel and unclean hands defenses. (In discussing RFP No. 9, you alleged that the SEC harmed
Coinbase through “adverse communications” and “threats” made to person(s) regarding Coinbase’s
business but refused to identify such person(s). And you acknowledged such allegation appears
nowhere in Coinbase’s Answer.) Coinbase also identified RFP Nos. 19 and 22 as seeking documents
relevant to its MQD defense, and RFP No. 29 as relevant to its APA (so-called “abuse of
discretion”) defense.
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of the 12 Named Tokens or to any fair-notice inquiry. In addition, the SEC stated during
the meet and confer that, to the extent RFP Nos. 15, 16, and 17 seek internal SEC
communications and documents regarding the application of Howey, including the role a
token’s ecosystem plays or might play in that application, such communications and
documents are privileged. You did not necessarily disagree but said there could be
“analyses” or a “compilation of information” that might be responsive and not privileged.
In response, we stated that any “analyses” (and likely the act of compiling information)
would be privileged, but more importantly that any information compiled would either be
public and thus available to Coinbase or among the voluminous web captures and other
relevant documents the SEC has already produced in this case. As such, Coinbase has not
sufficiently demonstrated how additional searches or additional productions beyond those
the SEC has already undertaken or agreed to undertake for RFP Nos. 15-17 are proportional
to the needs of this case.

        RFP Nos. 20 and 21

         The SEC has already produced documents responsive to RFP Nos. 20 and 21
concerning the Coinbase Staking Program. Further, as part of the proposal set forth above
and without waiving its objections, the SEC is willing to conduct a search of the Payward
Ventures (Staking) investigative file to identify and produce non-privileged documents
relevant to Coinbase’s unregistered offers and sales of its Staking Program. The SEC is
willing to do so notwithstanding the fact (as we conveyed during the meet and confer
process) there have been and are no other investigations that we are aware of involving or
regarding Coinbase’s offers and sales of its staking program. If Coinbase is unwilling to
accept the SEC’s proposal, then the SEC reaffirms its position that it will not search for
material outside of the Investigative File.

Communications with Issuers/Developers of the Named Tokens (RFP No. 8)

         In producing the Investigative File, the SEC has already produced non-privileged
documents responsive to RFP No. 8. And the SEC has offered to, and is already
undertaking reasonable efforts, to identify and produce additional responsive material from
at least seven other investigative files, including the Binance, Bittrex, and Payward Ventures
(Exchange) files. Now, as set forth in the SEC’s proposal above (at p.1), the SEC would
also agree to conduct a reasonable search to identify and produce non-privileged documents
responsive to RFP No. 8 from the Wahi investigative file and from the SEC’s Division of
Corporation Finance and FinHub, if the parties can agree that such a search would resolve
all disputes with respect to RFP No. 8 and the other enumerated RFPs. If Coinbase cannot
so agree, then the parties will be at an impasse with respect to RFP No. 8, and the SEC will
not undertake the proposed searches, which it continues to view as irrelevant and wholly
disproportional to the needs of the case.

Documents Concerning Public Statements by the SEC (RFP Nos. 13, 14, and 28)

        As set forth in the SEC’s Responses and Objections, RFP Nos. 13, 14, and 28 are
unduly burdensome, overbroad, and oppressive, and they seek documents that are not
relevant or proportional to the needs of the case, publicly available, and privileged. With
respect to relevance, your Letter states that these three RFPs are relevant to Coinbase’s fair
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notice defense, and during the meet and confer you shared Coinbase’s position that internal
SEC communications and documents “inform the [fair notice] inquiry.” We disagreed and
directed you to applicable fair-notice cases in the crypto enforcement context, including Kik
Interactive and Terraform Labs. As discussed above (at 4-5), internal SEC documents are not,
and cannot be, relevant to any fair notice inquiry based on applicable case law, including the
Court’s opinion and order on Coinbase’s MJOP. Also, though not mentioned in your
Letter, during the meet and confer you also shared Coinbase’s position that internal SEC
communications and documents sought by the subject RFPs would also be relevant to the
SEC’s affirmative claims. We disagreed and stated the SEC’s position that what the SEC
communicated internally about any crypto asset—apart from likely being privileged—is not
relevant to and has no bearing on the fact-finder’s objective inquiry as to whether such token
was, or is being, offered or sold as an investment contract under Howey. Accordingly, any
benefit to Coinbase from documents sought by RFP Nos. 13, 14, and 28 is nil and thus far
outweighed by the burden Coinbase seeks to impose on the SEC to search the email and
files of the SEC Chair, the Office of Public Affairs, the Division of Corporation Finance, the
Office of the Secretary, and other SEC divisions and offices.

Documents Concerning Coinbase’s Form S-1 and Direct Public Offering (RFP No.
27)

         As set forth in the SEC’s Requests and Objections, Request No. 27 is unduly
burdensome, overbroad, and oppressive, and seeks documents that are (i) not relevant, (ii)
not proportional to the needs of the case, (iii) publicly available (e.g. filed registration
statements and amendments and attachments thereto), (iv) already in Coinbase’s possession
(e.g. correspondence between Coinbase and the SEC’s Division of Corporation Finance),
and (v) privileged (e.g. internal SEC communications). During the meet and confer,
Coinbase claimed that the documents sought by RFP No. 27 are relevant to Coinbase’s fair
notice defense. When asked if RFP No. 27 applied to any of Coinbase’s other defenses, you
indicated that it “might” also be relevant to, or “could potentially inform,” Coinbase’s other
equitable defenses, though when asked you declined to specify which. With respect to
Coinbase’s fair notice defense, you posited that the internal SEC documents sought by RFP
No. 27 could “inform the [fair notice] inquiry.” Again, internal SEC documents are not, and
cannot possibly be, relevant to any fair notice inquiry based on applicable case law, including
the Court’s opinion and order on Coinbase’s MJOP. Accordingly, RFP No. 27 does not
seek relevant information, and during the meet and confer Coinbase failed to sufficiently
explain how RFP No. 27 is proportional to the needs of the case. And, as demonstrated
during the meet and confer, the documents sought by RFP No. 27 would be of little to no
benefit to the resolution of this case, and such benefit is far outweighed by the burden
Coinbase seeks to impose on the SEC to search the email and internal databases of its
Division of Corporation Finance, Office of the Chief Accountant, and other SEC divisions
and offices that may have been involved in the disclosure and accounting review of
Coinbase’s Form S-1. Accordingly, the SEC agrees that the parties are at an impasse with
respect to RFP No. 27.

                               *       *       *       *       *
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       Please let us know if Coinbase is willing to accept the SEC’s proposal as set forth
above or, at least, to meet and confer regarding that proposal.


                                                      Regards,

                                                      /s/ Nicholas C. Margida
                                                      Nicholas C. Margida

                                                      Counsel for Plaintiff SEC
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                    Attachment A – Proposed Search Terms and Custodians

The Wahi Investigative File

        Search Terms

                x   Coinbase /2 exchange
                x   Coinbase /2 clearing
                x   Coinbase /2 broker!
                x   Coinbase /2 platform
                x   Coinbase / 2 Prime
                x   SOL
                x   @solana.org
                x   @solana.com
                x   @solana.foundation
                x   ADA
                x   @cardanofoundation.org
                x   @iohk.io
                x   @emurgo.io
                x   Polygon
                x   MATIC
                x   @polygon.technology
                x   @protocol.ai
                x   Filecoin
                x   FIL
                x   @fil.org
                x   Sandbox
                x   SAND
                x   @sandbox.game
                x   @animocabrands.com
                x   @pixowl.com
                x   Axie
                x   AXS
                x   @axieinfinity.com
                x   @skymavis.com
                x   Chiliz
                x   CHZ
                x   @chiliz.com
                x   @mediarex.com
                x   Dapper Labs
                x   (FLOW /2 token)
                x   (FLOW /2 asset)
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                x   (FLOW /2 crypto*)
                x   @dapperlabs.com
                x   “Internet Computer”
                x   ICP
                x   internetcomputer.org
                x   @dfinity.org
                x   NEAR /2 (protocol or token)
                x   @near.foundation
                x   @near.org
                x   Voyager
                x   VGX
                x   @investvoyager.com
                x   (DASH /2 token)
                x   (DASH /2 asset)
                x   (DASH /2 crypto*)
                x   @dash.org

The Payward Ventures (Staking) File

        Search Term

                x   “Coinbase” /s stak*

Division of Corporation Finance

        Custodians

                x   Jonathan Ingram
                x   Michael Seaman
                x   Mark Vilardo

        Search Terms

                x   SOL
                x   @solana.org
                x   @solana.com
                x   @solana.foundation
                x   ADA
                x   @cardanofoundation.org
                x   @iohk.io
                x   @emurgo.io
                x   Polygon
                x   MATIC
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                x   @polygon.technology
                x   @protocol.ai
                x   Filecoin
                x   FIL
                x   @fil.org
                x   Sandbox
                x   SAND
                x   @sandbox.game
                x   @animocabrands.com
                x   @pixowl.com
                x   Axie
                x   AXS
                x   @axieinfinity.com
                x   @skymavis.com
                x   Chiliz
                x   CHZ
                x   @chiliz.com
                x   @mediarex.com
                x   Dapper Labs
                x   (FLOW /2 token)
                x   (FLOW /2 asset)
                x   (FLOW /2 crypto*)
                x   @dapperlabs.com
                x   “Internet Computer”
                x   ICP
                x   internetcomputer.org
                x   @dfinity.org
                x   NEAR /2 (protocol or token)
                x   @near.foundation
                x   @near.org
                x   Voyager
                x   VGX
                x   @investvoyager.com
                x   (DASH /2 token)
                x   (DASH /2 asset)
                x   (DASH /2 crypto*)
                x   @dash.org


FinHub

        Custodians
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                x   Valerie Szczepanik
                x   Amy Starr

        Search Terms

                x   SOL
                x   @solana.org
                x   @solana.com
                x   @solana.foundation
                x   ADA
                x   @cardanofoundation.org
                x   @iohk.io
                x   @emurgo.io
                x   Polygon
                x   MATIC
                x   @polygon.technology
                x   @protocol.ai
                x   Filecoin
                x   FIL
                x   @fil.org
                x   Sandbox
                x   SAND
                x   @sandbox.game
                x   @animocabrands.com
                x   @pixowl.com
                x   Axie
                x   AXS
                x   @axieinfinity.com
                x   @skymavis.com
                x   Chiliz
                x   CHZ
                x   @chiliz.com
                x   @mediarex.com
                x   Dapper Labs
                x   (FLOW /2 token)
                x   (FLOW /2 asset)
                x   (FLOW /2 crypto*)
                x   @dapperlabs.com
                x   “Internet Computer”
                x   ICP
                x   internetcomputer.org
                x   @dfinity.org
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                x   NEAR /2 (protocol or token)
                x   @near.foundation
                x   @near.org
                x   Voyager
                x   VGX
                x   @investvoyager.com
                x   (DASH /2 token)
                x   (DASH /2 asset)
                x   (DASH /2 crypto*)
                x   @dash.org
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     Margida, Nicholas

     From:                 Margida, Nicholas
     Sent:                 Thursday, June 13, 2024 2:22 PM
     To:                   Adam M. Gogolak; David P.T. Webb; James M. McDonald; Julia A. Malkina; Kathleen S. McArthur;
                           Kevin S. Schwartz; Olivia G. Chalos; Sarah K. Eddy; Sijin Choi; Steven R. Peikin; William Savitt
     Cc:                   Costello, Patrick R.; Mendel, David S; Mancuso, Peter; Dunnan, Rebecca
     Subject:              Follow up on Initial Meet and Confer re: Coinbase's Requests for Production


     Kevin,

     Following up on this morning’s telephonic meet and confer regarding Coinbase’s requests for production (“RFPs”), we heard
     you ask if it is the SEC’s position that it would not produce documents concerning Coinbase’s affirmative defenses on the
     grounds that such defenses are meritless and thus documents related thereto are not relevant. In response to this question, the
     parties discussed, among other things, the import of the Court’s March opinion and order on Coinbase’s motion for judgment
     on the pleadings (and the remaining viability of certain defenses) and the SEC’s relevance objections to producing certain
     types of documents, such as internal documents. It occurred to us after the call that in order to fully answer your question,
     with all appropriate context, the SEC would like (and indeed, needs) to better understand which of Coinbase’s RFPs you all
     believe seek documents related to Coinbase’s affirmative defenses and how the defenses apply. I know we discussed on this
     morning’s call Coinbase’s Administrative Procedures Act/“abuse of discretion” defense as relating to RFP No. 29, and its fair
     notice defense with respect to RFP No. 6. But it would be helpful, during the continuation of the meet and confer next week
     (or by reply email if preferable), if you could: (1) identify which of Coinbase’s RFPs seek documents concerning Coinbase’s
     defenses; (2) identify which defenses apply to each such RFP; and (3) explain how the documents sought by each such RFP
     are relevant to the specified defense(s). Then, we can fairly consider the question you posed this morning and whether the
     SEC is willing to search and/or conduct additional searches for documents concerning the enumerated RFPs that you inform
     us relate to Coinbase’s defenses. Thank you.

     Regards,
     Nick


     Nick Margida
     Senior Trial Counsel
     U.S. Securities & Exchange Commission
     Division of Enforcement
     100 F Street, N.E.
     Washington, DC 20549-5977
     (202) 551-8504




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